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AO 91 (REV. 12/03)




                                   UNITED STATES DISTRICT COURT
                                                                                                                      FILED
                                                                                                                    09/16/2024
                                      WESTERN DISTRICT OF TEXAS, PECOS DIVISION                              Clerk, U.S. District Court
                                                                                                             Western District of Texas

                                                                                                                   by: Y. Lujan
                                                                                                                     Deputy




USA                                                                             §
                                                                                § CRIMINAL COMPLAINT
vs.                                                                             § CASE NUMBER: PE:24-M -00437(1)
                                                                                §
(1) Yoiker David Sequera                                                        §


           I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about September 11, 2024 in Presidio county, in the WESTERN
DISTRICT OF TEXAS defendant did, being an alien to the United States, knowingly enter or attempt to
enter the United States at a time and place other than as designated by immigration officers.

in violation of Title                      8                  United States Code, Section(s)          1325(a)(1)

            I further state that I am a(n) Border Patrol Agent and that this complaint is based on the
following facts:    "The defendant, Yoiker David SEQUERA was arrested on September 11, 2024, in the
Western District of Texas by Presidio Border Patrol Agents. The defendant is a citizen and national of
Venezuela, who is present in the United States without having been admitted or paroled by an Immigration
Officer. The Defendant last entered the United States on or about September 11, 2024 in Presidio County,
Texas, in the Western District of Texas at a time and place not designated




Continued on the attached sheet and made a part of hereof.




                                                                                            /s/ Wade Condito

                                                                                            Signature of Complainant
                                                                                            Border Patrol Agent


September 16, 2024                                                                     at   Alpine, Texas
Date                                                                                        City and State

Complaint sworn to in my presence and and signed electronically on this date.
FED.R.CRIM.P. 4.1(b)(2)(A)


DAVID B. FANNIN                                                                             ______________________________
UNITED STATES MAGISTRATE JUDGE                                                              Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT - PE:24-M -00437(1)

WESTERN DISTRICT OF TEXAS

(1) Yoiker David Sequera

FACTS   (CONTINUED)

as a port of entry by the Secretary of Homeland Security. The Defendant is not in possession of Immigration
documents allowing him/her to be in, or remain in, the United States legally.

Defendant is a citizen and national of Venezuela.



IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
